751 F.2d 376
    Leonard (Thomas A.), Leonard for Mayorv.Chairman and Commissioners, Philadelphia County Board ofElections, Durham (Charles L.), McCrudden (James D.),Tartaglione (Margaret M.), Kane (John F.), Crumlish (JamesC. III), Davis (William R.), Egan (John), Republican CityCommittee, John Egan for Mayor, Goode (W. Wilson)
    NO. 83-1721
    United States Court of Appeals,THIRD CIRCUIT.
    NOV 29, 1984
    
      1
      Appeal From:  E.D.Pa.
    
    
      2
      APPEAL DISMISSED.
    
    